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SWEETENER USERS ASSOCIATION
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                                             April 29, 2016


The Honorable Penny Pritzker                             The Honorable Tom Vilsack
Secretary                                                Secretary
U.S. Department of Commerce                              U.S. Department of Agriculture
1401 Constitution Avenue, NW                             1400 Independence Avenue, SW
Washington, DC 20230                                     Washington, DC 20250

Dear Secretary Pritzker & Secretary Vilsack:

Published news articles have stated that there may be attempts to re-negotiate the suspension
agreements between the United States and Mexico, which arose from anti-dumping and
countervailing duty cases filed by the U.S. sugar industry in 2014. The Sweetener Users
Association (SUA) strongly advocates such re-negotiations as a potential remedy to the harm
that the suspension agreements in their current form have levied on industrial sugar users and
cane refiners. We strongly urge that our government make it a priority of any re-negotiation to
improve outcomes for these two negatively impacted sectors.

Inadequate supplies of raw cane sugar have been among the principal causes of dissatisfaction
with the current agreements. Although SUA was highly critical of the suspension agreements –
and remains so – we acknowledge that as a practical matter, a negotiated settlement of some type
now constitutes the status quo. However, because this same settlement has led to short supplies
of raw sugar, any changes should be designed with a view to restoring adequate supplies at
reasonable prices.

The distortions inherent in the suspension agreements are being exacerbated by current
marketplace trends toward a higher demand for cane sugar and a lower demand for beet sugar.
This trend is likely to accelerate in coming months and years as more companies respond to
consumer demand for products that are not genetically engineered (GE). Just this month, USDA
statistics showed that compared to a year ago, deliveries of cane sugar in the U.S. market are up
5% while deliveries of beet sugar are down 7%.

SUA emphasizes the value our members place on both the domestic beet and cane production
industries. Moreover, it is clear that all GE crops on the market today are safe, including GE
sugar beets. But current demand trends are what they are, and if government policies artificially
restrict supplies of the product for which demand is growing, the adverse impacts will fall on
food and beverage manufacturers and ultimately on the consumers of their products.

We respectfully suggest the following principles that should apply to any new agreements or
modifications to existing agreements:



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   1. The United States must not compromise its sovereign right to establish and increase
      the tariff rate quotas (TRQs) for raw or refined sugar or sugar-containing products.
      Both the establishment and allocation of these TRQs are matters of U.S. domestic law as
      well as international obligations.

   2. Sugar trade policy should at minimum ensure that the U.S. has adequate supplies of
      sugar available year round. SUA has long advocated maintenance of a 15.5% stocks-
      to-use ratio, and that minimum level of stocks is even more critical now that we have new
      limits placed on sugar imports from Mexico. Indeed, in a managed trade environment,
      there may be a need for a higher ratio than was historically the case.

   3. The current mix of 47% raw and 53% refined sugar imports in the suspension
      agreements needs to be re-examined and adjusted. We currently have available
      insufficient import flows of raw cane sugar to adequately supply U.S. cane refineries.
      The changes now occurring in the U.S. sugar market that are increasing demand for cane
      sugar only makes this problem more urgent.

   4. The reference prices in the current agreements constitute a serious problem and
      should be changed. The current reference prices circumvent the intent of Congress by
      establishing higher minimum prices in the U.S. market than those prescribed by law. In
      addition, the reference prices have distorted marketplace supplies by creating a strong
      incentive for Mexico to sell as much refined sugar as possible at the higher of the two
      reference prices. Instead, the prices for refined and “other sugar” should be adjusted
      downward so that the minimum delivered price for “other sugar” is approximately equal
      to the forfeiture equivalent for U.S. raw cane sugar, while the reference price for refined
      sugar is approximately at the forfeiture equivalent for U.S. refined beet sugar, again on an
      average delivered basis. Such a minimum-pricing arrangement would ensure that
      Mexican sugar did not undercut the impact of the U.S. loan program but, equally, did not
      constitute an extra-legal price support increase, as the current reference prices do.

Finally, SUA respectfully requests that industrial sugar users be consulted by your Department in
the event that any discussions with Mexico take place. Our members are the main customers for
domestic and imported sugar and employ approximately 600,000 Americans. Our voices
deserve to be heard.

                                           Sincerely,




                                        Perry Cerminara
                                           Chairman




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